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                    UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF DELAWARE
_________________________________________ x
                                          :
In re:                                    : Chapter 11
                                          :
QUORUM HEALTH CORPORATION, et al.,        : Case No. 20-10766 (BLS)
                                          :
                     Debtor.              :
                                          :
_________________________________________ :
                                          :
DANIEL H. GOLDEN, AS LITIGATION           :
TRUSTEE OF THE QHC LITIGATION TRUST, : Adversary Proceeding
AND WILMINGTON SAVINGS FUND               :
SOCIETY, FSB, SOLELY IN ITS CAPACITY AS : Case No. 21-51190 (BLS)
INDENTURE TRUSTEE,                        :
                                          : Re: Adv. D.I. 47, 48
                    Plaintiffs,           :
                                          :
            v.                            :
                                          :
COMMUNITY HEALTH SYSTEMS, INC.;           :
CHS/COMMUNITY HEALTH SYSTEMS, INC.; :
REVENUE CYCLE SERVICE CENTER, LLC;        :
CHSPSC, LLC; PROFESSIONAL ACCOUNT         :
SERVICES, INC.; PHYSICIAN PRACTICE        :
SUPPORT, LLC; ELIGIBILITY SCREENING       :
SERVICES, LLC; W. LARRY CASH; RACHEL :
SEIFERT; ADAM FEINSTEIN; AND CREDIT       :
SUISSE SECURITIES (USA) LLC,              :
                                          :
                     Defendants.          :
_________________________________________ x


     REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF CREDIT SUISSE
               SECURITIES (USA) LLC’S MOTION TO DISMISS




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                                         INTRODUCTION 1

         Credit Suisse demonstrated in its Motion that it is not a proper Defendant in this case, and

that all of Plaintiff’s claims against it should be dismissed. Plaintiff’s Opposition does not even

address, and therefore concedes, several of Credit Suisse’s dismissal arguments. And the

arguments Plaintiff does make lack merit and should be rejected.

         First, the Bankruptcy Code’s “Safe Harbor” bars all the claims against Credit Suisse. 11

U.S.C. § 546(e). Plaintiff concedes that Credit Suisse is a “financial participant,” and it does not

refute Credit Suisse’s showing that it received fees “in connection with” the purchase agreement

for the sale of the Senior Notes—a paradigmatic “securities contract” under the Safe Harbor.

Moreover, Plaintiff’s argument that the Safe Harbor does not bar common law claims grounded

in fraudulent intent is wrong. Rather the Safe Harbor exception on which Plaintiff relies applies

only to intentional fraudulent transfer claims brought under the Bankruptcy Code.

         Second, the Complaint fails to state any claim for fraudulent transfer against Credit

Suisse for several reasons. The Court should dismiss all the fraudulent transfer claims against

Credit Suisse (Counts 16–21) because Plaintiff does not rebut Credit Suisse’s showing that the

Senior Noteholders ratified the transaction and thus cannot serve as “triggering creditors.” The

constructive fraudulent transfer claims (Counts 16, 18, and 20) should be dismissed because the

Complaint fails to plead that Credit Suisse did not provide “reasonably equivalent value” for the

fees it earned. Because Plaintiff cannot dispute this, the Opposition instead argues that QHC

received no value from the distribution it made to CHS—even though the claim against Credit


1
  In this brief, (i) “Motion” or “Mot.” refers to Credit Suisse’s Motion to Dismiss (Dkt. No. 48); (ii)
“Opposition” or “Opp.” refers to Plaintiffs’ Opposition to Defendants’ Motions to Dismiss (Dkt. No. 68);
(iii) “Moss Decl.” refers to the Declaration of Edward Moss (Dkt. No. 49); and (iv) unless otherwise
defined, all other capitalized terms have the same definition as in the Complaint or the Motion. Unless
noted, emphasis is added and internal citations and quotations are omitted.

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Suisse does not seek to void that distribution—and ignores Credit Suisse’s cases showing that the

analysis must focus on the specific transaction to be avoided. The intentional fraudulent transfer

claims (Counts 17, 19, and 21) should also be dismissed because the Complaint fails to allege

either actual fraudulent intent or the requisite “badges of fraud.”

         Third, the Opposition fails to rebut Credit Suisse’s showing that there is no cause of

action for aiding and abetting an illegal dividend (Count 22) under the Delaware General

Corporation Law. The Opposition cannot dispute that the statute limits liability only to primary

violators, or that the only courts to have considered motions to dismiss this (non-existent) cause

of action have granted them. Without any legitimate opposition, Plaintiff hypothesizes that

because Delaware recognizes a cause of action for civil conspiracy, that must mean this Court

should be the first to recognize a claim for aiding and abetting an illegal dividend. But Plaintiff

cites no authority for this argument that no court has ever adopted.

         Finally, Plaintiff’s unjust enrichment claim (Count 23) is untimely, and the Opposition’s

tolling arguments should be rejected because QHC fully litigated these precise issues years ago

in its arbitration with CHS. The unjust enrichment claim should also be dismissed for the

independent reason that the Complaint fails to plead the lack of a governing contract, and

documents the Court can consider on this Motion demonstrate that such a contract exists.

Plaintiff also argues that a contract does not bar an unjust enrichment claim when it was procured

by fraud. But the Complaint here contains no such allegations of fraud. For these and the other

reasons below, the Court should dismiss all the claims against Credit Suisse with prejudice.




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                                             ARGUMENT

I.       THE SAFE HARBOR BARS ALL OF PLAINTIFF’S CLAIMS AGAINST
         CREDIT SUISSE.

         Credit Suisse demonstrated in its Motion that the Bankruptcy Code’s Safe Harbor bars all

the claims against it. (See Mot. at 7–10.) Plaintiff’s response lacks merit.

         Fraudulent Transfer Claims (Counts 16–21). The Safe Harbor requires dismissal of

the fraudulent transfer claims because (i) Credit Suisse is a “financial participant”; and (ii) the

transfers were made “in connection with a securities contract”—the April 8, 2016 agreement

under which the Senior Notes were offered and purchased. (See id. at 7–9.) Plaintiff concedes

some of this, and the Court can easily reject Plaintiff’s response on the points it does contest.

         First, Plaintiff does not dispute that Credit Suisse is a “financial participant,” and it has,

therefore, waived any argument on this issue. In re The IT Grp., Inc., 2005 WL 3187865, at *3

(Bankr. D. Del. Nov. 17, 2005) (“Having not addressed this issue, Plaintiff has certainly not

refuted it, but rather has conceded it.”); Kiger v. Mollenkopf, 2021 WL 5299581, at *2 n.2

(D. Del. Nov. 15, 2021) (finding that certain arguments were “waived because they were not

presented in Plaintiffs’ opposition brief”).

         Second, the Court should reject Plaintiff’s only argument on the “securities contract”

prong—that because the purchase agreement cannot be considered on a motion to dismiss, the

Court cannot determine on this Motion whether the “purchase agreement between Quorum and

certain initial purchasers . . . [is a] securities contract[].” (Opp. at 37–38.) The Court does not

need to consider the contents of the purchase agreement (which, as Plaintiff correctly notes, is

not public and was not filed with the SEC) to determine that it is a “securities contract” under the

Safe Harbor. The Indenture under which the notes were issued, and which was filed with the

SEC, makes clear that the notes were “being offered and sold by the Issuer [Quorum] pursuant to

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the Purchase Agreement,” defined as the April 8, 2016 agreement “between the Issuer and Credit

Suisse Securities (USA) LLC, as representative of the Initial Purchasers.” 2 Moss Decl. Ex. C at

30, 39. And as Credit Suisse demonstrated in its Motion, an agreement to purchase notes is a

quintessential “securities contract” under the Safe Harbor. (Mot. at 8–9.)

         Third, despite conceding that the fees were paid to Credit Suisse “in connection with the

Spin-Off Debt”—which according to the Complaint itself includes the note offering (see Compl.

¶ 64 n.5)—Plaintiff suggests that the fees nevertheless may not have been paid “in connection

with any contract governing the [note offering].” (Opp. at 43.) Not only does Plaintiff’s

argument contradict its own allegation that Credit Suisse was paid fees for the Spin-Off Debt

that included the note offering, Plaintiff’s argument that “in connection with” should be read to

apply only if the “transfer at issue was actually required or governed by a securities contract”

(see id. at 41) invents a razor-thin standard that does not actually exist. Rather, In re Lehman

Bros. Holdings Inc., 469 B.R. 415 (Bankr. S.D.N.Y. 2012)—a case on which Plaintiff heavily

relies (see Opp. at 43–44)—says just the opposite. As Judge Peck explained, “the words ‘in

connection with’ are to be interpreted liberally,” and “[i]t is proper to construe [them] broadly to

mean ‘related to.’” 3 469 B.R. at 442. Plaintiff’s concession that the transfers were made “in

connection with the Spin-Off Debt” (see Opp. at 43)—which includes the note offering that was

undisputedly made under a “securities contract”—meets that standard.



2
 The Court can consider the Indenture on this Motion because it was filed with the SEC. See FTC v.
Shire ViroPharma, Inc., 917 F.3d 147, 151 n.5 (3d Cir. 2019) (judicial notice of fact from SEC filing).
3
  Plaintiff’s argument that Third Circuit courts construe Section 546(e) more narrowly than Second
Circuit courts is based on a misleading discussion of In re Physiotherapy Holdings, Inc., 2016 WL
3611831, at *1 (Bankr. D. Del. June 20, 2016). (See Opp. at 39.) Contrary to Plaintiff’s suggestion,
Physiotherapy did not even construe the Safe Harbor’s “in connection with” language. And in discussing
a different Safe Harbor provision, the Physiotherapy court noted the “Third Circuit’s position that section
546(e) should be interpreted liberally.” 2016 WL 3611831 at *11.
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         Aiding and Abetting (Count 22) and Unjust Enrichment (Count 23). The

Opposition’s argument that the Safe Harbor does not bar Plaintiff’s common law claims against

Credit Suisse (see Opp. at 43–44) is also wrong. To begin, although Plaintiff argues that the Safe

Harbor does not bar its claim for illegal dividend against CHS (see id.), 4 Plaintiff does not

respond to Credit Suisse’s argument that the Safe Harbor bars the derivative aiding and abetting

an illegal divided claim (Count 22) against Credit Suisse. Thus, Plaintiff has waived that

argument. See In re The IT Grp., Inc., 2005 WL 3187865, at *3.

         The Court should also reject Plaintiff’s argument that the Safe Harbor does not bar the

unjust enrichment claim against Credit Suisse because it is “grounded in actual fraudulent

intent.” (Opp. at 44 (citing Lehman Bros., 469 B.R. at 451).) To support this argument, Plaintiff

relies on the logic of two cases from the Southern District of New York—Lehman Bros., 469

B.R. 415 and In re Hellas Telecommunications (Luxembourg) II SCA, 526 B.R. 499 (Bankr.

S.D.N.Y. 2015)—that explain that because the Safe Harbor has an exception for actual

fraudulent conveyance claims brought under 11 U.S.C. § 548(a)(1)(A), similar common law

claims (i.e., those grounded in fraudulent intent) likewise should not be barred. But Plaintiff

ignores a more recent case from the same jurisdiction that takes the opposite view. In In re

Boston Generating LLC, the court rejected the argument that the Safe Harbor’s section

548(a)(1)(A) exception extends to intentional fraudulent transfers brought under state law

because “the plain language of section 546(e) . . . provides an exception only for intentional

fraudulent transfer claims brought under the Bankruptcy Code and no more.” 617 B.R. 442,

479 (Bankr. S.D.N.Y. 2020), aff’d, 2021 WL 4150523, at *1 (S.D.N.Y. Sept. 13, 2021).


4
  Plaintiff characterizes the claim as “seek[ing] to hold CHS and the director Defendants liable for their
intentionally wrongful and fraudulent acts” (Opp. at 44) and nowhere in this section mentions the
derivative claim against Credit Suisse.

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Following that logic, the Safe Harbor would also bar common law claims, including those

“grounded in actual fraudulent intent.”

II.      THE COMPLAINT FAILS TO STATE ANY CLAIM FOR FRAUDULENT
         TRANSFER AGAINST CREDIT SUISSE.

         The Opposition fails to rebut Credit Suisse’s showing that the Complaint does not state

any claim for fraudulent transfer against it.

         First, as Credit Suisse demonstrated in its Motion, (i) a trustee can assert claims under 11

U.S.C. § 544(b) only if there is a “triggering” unsecured creditor holding an allowable claim as

of the date of the bankruptcy petition; and (ii) the noteholders—the only creditors identified in

the Complaint—cannot be triggering creditors because they entered into the transaction knowing

that the offering’s proceeds would be transferred to CHS. 5 (See Mot. at 10–12.) This pleading

failure requires dismissal of the fraudulent transfer claims against Credit Suisse (Counts 16–21).

         Plaintiff argues that the noteholders could not have ratified the transaction because they

lacked knowledge of “all material facts connected with the transaction” since the financial

statements disclosed to investors were supposedly “inflated” and “inaccurate.” (Opp. at 19.)

Relying heavily on Physiotherapy, 2016 WL 3611831, at *1, Plaintiff argues that the

noteholders’ knowledge about how the financing proceeds would be used is insufficient for

ratification because that was “simply one piece of information regarding the Spin-Off Debt.”




5
  Plaintiff also argues that even though it has failed to plead the existence of triggering creditors other
than the Senior Noteholders, it “would be able to do so” if necessary. (Opp. at 21 n.6.) But Plaintiff
cannot amend its pleading through briefing. Com. of Pa. ex rel. Zimmerman v. PepsiCo, Inc., 836 F.2d
173, 181 (3d Cir. 1988) (“It is axiomatic that the complaint may not be amended by the briefs in
opposition to a motion to dismiss”). Moreover, while a trustee is not required to allege the existence of an
unsecured creditor by name, a “trustee’s generic pleading as to the existence of a predicate creditor does
not satisfy Rule 8(a).” In re Petters Co., Inc., 495 B.R. 887, 901 (Bankr. D. Minn. 2013); see also In re
Parker Sch. Uniforms, LLC, 2021 WL 4553016, at *10 (Bankr. D. Del. Oct. 5, 2021) (citing Petters and
finding conclusory allegation that debtor “has creditors whose claims arose before” the challenged
transfers insufficient to plead existence of a triggering creditor).
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(Opp. at 20.) But Plaintiff ignores an important element of the court’s reasoning in

Physiotherapy—that even “the most cursory glance” at the offering memorandum revealed that

the investors may have believed the Debtor was a “non-risky borrower.” 2016 WL 3611831, at

*12. In fact, the Physiotherapy court distinguished In re Lyondell Chem. Co., 503 B.R. 348

(Bankr. S.D.N.Y. 2014), in part because the creditors there “knew they were participating in a

leveraged buyout that carried potential risk.” Id. at *13.

         This case is much more like Lyondell than Physiotherapy. The Complaint is replete with

allegations demonstrating that the noteholders were on notice that they were entering into a risky

transaction with a risky borrower. See, e.g., Comp. ¶ 49 (alleging that QHC’s debt “received a

‘C’ rating from Moody’s” in the first quarter of 2016); id. ¶ 65 (“Given the declining state of the

hospital industry at this time, prospective lenders were reluctant to lend to QHC . . . . CHS and

Credit Suisse resorted to attracting lenders by offering high interest rates and discounts to par.

The 11.625% interest rate on QHC’s senior Notes was the highest rate paid by any borrower in

the healthcare sector from 2014-2016 . . . .”). Thus, unlike in Physiotherapy, the Complaint

alleges that the noteholders had knowledge of material risks well beyond the use of the proceeds.

         Credit Suisse also explained in its motion why this Court should apply the logic of U.S.

Bank Nat’l Ass’n v. Verizon Commc’ns Inc., 479 B.R. 405 (N.D. Tex. 2012), a well-reasoned

case with many factual similarities to this one. (See Mot. at 11–12.) Unable to distinguish

Verizon, Plaintiff argues only that it is “inconsistent with binding precedent of this Circuit” (Opp.

at 21). But the only controlling authority Plaintiff cites is Renault v. L.N. Renault & Sons, 188

F.2d 317 (3d Cir. 1951), a 1951 case, and only for the unremarkable proposition that ratification

requires knowledge of material facts (see Opp. at 19). Credit Suisse does not dispute that general

proposition and, as discussed above, the noteholders here were—in light of the Complaint’s own


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allegations about risk—sufficiently on notice to be able to ratify the transaction. Accordingly,

the Court should adopt Verizon’s logic and dismiss the fraudulent transfer claims.

         Second, Plaintiff fails to rebut Credit Suisse’s showing that the constructive fraudulent

transfer claims (Counts 16, 18, and 20) should be dismissed because the Complaint fails to plead

that Credit Suisse did not provide “reasonably equivalent value” for the fees it earned. (See Mot.

at 13–16.) Plaintiff does not (and cannot) dispute that the Complaint lacks allegations showing

that (i) Credit Suisse did not provide the services it was engaged to provide, or (ii) charged an

above-market rate for those services. Nor does Plaintiff offer any authority to even try to rebut

Credit Suisse’s cases within this District holding that the payment of a valid contractual debt

constitutes reasonably equivalent value. (See id. at 14–15.)

         Instead, without even addressing Credit Suisse’s showing that this Court must analyze the

specific transaction to be avoided (see id. at 13)—here, QHC’s payment of customary fees to

Credit Suisse for its work on the financing—Plaintiff switches field and argues that QHC

received no value from the financing because the financing’s proceeds were distributed to CHS

in a separate transaction while QHC was saddled with the debt. (See Opp. at 22–24.) Yet that

argument would require the Court to collapse several transactions—the multipart financing, the

payment of fees to Credit Suisse, and QHC’s transfer of the financing proceeds to CHS—into

one. And Plaintiff does not even address, let alone refute, any of Credit Suisse’s cases showing

that the collapsing doctrine does not apply to the facts here. (See Mot. at 15–16.)

         Plaintiff’s sole authority is In re Millennium Lab Holdings II, LLC, 2019 WL 1005657, at

*1 (Bankr. D. Del. Feb. 28, 2019) (see Opp. at 24–26), but as Credit Suisse already explained

(see Mot. at 16, n.12) and Plaintiff does not refute, that case is distinguishable. In Millennium,

(i) the debtor received nothing in return for the challenged distribution and filed for bankruptcy


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only 18 months after the transaction, In re Millennium Lab Holdings II, LLC, 562 B.R. 614, 618

(Bankr. D. Del. 2016); and (ii) there were allegations of self-dealing because part of the

distribution went to augment the “personal fortunes” of the debtor’s controlling persons. 2019

WL 1005657 at *4. But here, (i) QHC received a diversified portfolio of 38 hospitals and other

assets as partial consideration for the distribution and operated for four years post-transaction

before filing for bankruptcy, and (ii) the Complaint lacks any allegations that any individuals

benefitted personally. (See Compl. ¶ 2.)

         Plaintiff also argues that the Complaint sufficiently pleads lack of reasonably equivalent

value because its allegations demonstrate that Credit Suisse acted in bad faith. (See Opp. at. 24.)

Not so—Plaintiff’s cases are distinguishable. In In re Cornerstone Homes, Inc., a case involving

an alleged Ponzi scheme, the court denied a motion to dismiss filed by banks that had entered

into transactions with the debtor because the complaint specifically alleged that the banks had

possession of the debtor’s financial statements and tax returns that showed the debtor was

insolvent. 567 B.R. 37, 52 (Bankr. W.D.N.Y. 2017). And in In re OPP Liq. Co., Inc., the court

found the lack-of-good-faith allegations against the debtor’s former officers and directors

sufficient because the complaint had also alleged facts sufficient to show that those defendants

had breached their fiduciary duties. 2022 WL 774063, at *13 (Bankr. D. Del. Mar. 14, 2022).

But here, the Complaint (i) includes only conclusory allegations that Credit Suisse must have

known that QHC was insolvent (four years before it entered bankruptcy); and (ii) lacks

allegations that would demonstrate that Credit Suisse breached any fiduciary duties (which, as an

arm’s-length service provider, it did not owe).

         Third, the Opposition does not rebut Credit Suisse’s showing that the Court should

dismiss the intentional fraudulent transfer claims (Counts 17, 19, and 21) because the Complaint


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fails to plead the requisite intent. (See Mot. at 16–21.) Plaintiff argues first that it need not plead

“badges of fraud” because the Complaint includes direct allegations of actual fraudulent intent.

(See Opp. at 26–27.) But Plaintiff’s entire discussion—including the only two allegations it uses

to support its argument—focuses on CHS’s alleged intent with respect to the alleged scheme in

general. (See id. at 27.) Plaintiff does not even mention the payments to Credit Suisse.

         Plaintiff then argues that, to the extent Credit Suisse-specific allegations are necessary,

the Complaint has them because it alleges that (i) CHS believed that Credit Suisse would go

along with its alleged scheme; (ii) Credit Suisse had “heated conversations” in which it tried to

convince CHS to lower the debt amount, but CHS “refused to change course”; (iii) the lead

Credit Suisse banker described the deal as “the most difficult of his career”; and (iv) unidentified

Credit Suisse bankers asked a CHS employee to delete Credit Suisse’s name from a log of

changes to the projections that he had been instructed to make by someone at CHS (and not by

anyone at Credit Suisse). (Id. at 27-28.) But Plaintiff does not respond to—let alone refute—

Credit Suisse’s detailed showing that these allegations fail to state a claim for fraud. (See Mot. at

6, 27.) For example, Credit Suisse explained why having “heated conversations” in which it

allegedly tried to convince CHS to reduce the debt amount shows the antithesis of fraud. (Id. at

27.) The Opposition has no response.

         Plaintiff relegates to one paragraph its fallback argument that the Complaint sufficiently

pleads the “badges of fraud.” (See Opp. at 28.) That argument also fails. As an initial matter,

the Opposition does not even address, and thus concedes, Credit Suisse’s showing that the

Complaint fails to plead three of the six badges of fraud—(i) “how much of the debtor’s estate

was transferred”; (ii) “reservation of benefits, control or dominion by the debtor over the




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property transferred”; and (iii) “secrecy or concealment of the transaction.” (See Mot. at 18.)

And the Court should reject Plaintiff’s arguments on the prongs it does address:

         •   In arguing that the Complaint adequately alleges the badge of “insolvency,” Plaintiff
             just repeats the Complaint’s conclusory allegations and fails to address Credit
             Suisse’s argument that QHC’s operation outside of bankruptcy for four years post-
             transaction makes it implausible that QHC was insolvent as a result of the transaction.

         •   In addressing “reasonably equivalent value,” Plaintiff focuses on the distribution and
             does not address the lack of allegations showing that Credit Suisse either did not
             provide the requested investment-banking services or charged an above-market rate.

         •   Plaintiff’s argument that CHS and QHC had a “non-arm’s length relationship” misses
             the point, because the relevant inquiry is the relationship between Credit Suisse and
             QHC—which the Opposition does not even attempt to address.

III.     THE COMPLAINT FAILS TO STATE A CLAIM FOR AIDING AND ABETTING
         AN UNLAWFUL DIVIDEND AGAINST CREDIT SUISSE.

         Credit Suisse demonstrated in its Motion that (i) the Delaware General Corporation Law

does not provide for aiding and abetting liability for illegal dividend claims, but rather its express

language limits liability only to primary violators; (ii) no Delaware court—and no court

anywhere—has ever recognized a claim for aiding and abetting an illegal dividend under DGCL

§§ 170 and 173; and (iii) the only two courts to have ruled on motions to dismiss aiding and

abetting claims have granted those motions. (See Mot. at 21–25.) Plaintiff cannot dispute any of

this. 6 Instead, it advances two weak arguments that this Court should reject.

         First, Plaintiff argues that Credit Suisse does not cite any controlling authority to support

its position (see Opp. at 34), but Plaintiff has no authority at all. The best Plaintiff can muster is

the general statement that “co-conspirators are jointly and severally liable for the acts of their

confederates committed in furtherance of the conspiracy,” coupled with Plaintiff’s own opinion


6
  Plaintiff likewise does not dispute that the aiding and abetting claim against Credit Suisse must be
dismissed if the Court dismisses the underlying illegal dividend claim (Count 13)—which it should do for
the reasons that the CHS Defendants have explained.
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that “[t]here is no reasoned basis why” this holding would not create out of whole cloth a new

cause of action that has never been recognized by any court anywhere. (See id. at 34–35.)

Plaintiff’s novel theory—in addition to lacking any case-law support—proves too much. If

Plaintiff were correct, then the mere existence of a cause of action under Delaware law for civil

conspiracy (a claim which Plaintiff does not allege here) would somehow create a cause of

action for aiding and abetting every violation of a Delaware statute. But that has not happened.

Rather, Delaware courts repeatedly have refused to recognize causes of action for aiding and

abetting as to several Delaware statutes. (See Mot. at 25, n.16.) 7

         Second, Plaintiff’s attempts to distinguish Credit Suisse’s cases (see Opp. at 35) are

unavailing. Plaintiff does not dispute that In re Magnesium Corp. of Am., 399 B.R. 722 (Bankr.

S.D.N.Y. 2009), dismissed aiding and abetting claims against investment banks and others based

on the statute’s plain and unambiguous language that demonstrated the legislature’s intent to

impose liability for illegal dividends only on “one group—a corporation’s directors.” (See Mot.

at 23 (citing Magnesium, 399 B.R. at 777-78).) Instead, Plaintiff argues only that Judge Gerber

failed to “grapple with the Delaware Supreme Court’s holding that liability shall be imposed on

joint conspirators.” (Opp. at 35.) But that is a complete non sequitur that only underscores how

far Plaintiff is reaching here. The Magnesium court did not “grapple” with Plaintiff’s argument

(which, of course, was never even asserted in that case) because it has no basis in any legal




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 As Delaware courts have noted when refusing to create an implied statutory cause of action in other
contexts, “[t]he General Assembly obviously could have explicitly provided for liability for aiding and
abetting . . . but it did not.” Edgewater Growth Capital Partners, L.P. v. H.I.G. Capital, Inc., 2010 WL
720150, at *2 (Del. Ch. Mar. 3, 2010). And in many cases, the General Assembly has explicitly done so.
See, e.g., Del. Code Ann. tit. 6 § 73-605(b); Del. Code Ann. tit. 10 § 7133(a) (permitting civil
action “against any person who knowingly . . . aided, [or] abetted . . . criminal nuisance.”).
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authority whatsoever—and it runs directly counter to the Delaware cases that have refused to

recognize aiding and abetting liability for other statutory violations.

         Third, Plaintiff argues that AT&T Corp. v. Walker, 2006 WL 3019980 (W.D. Wash.

Oct. 17, 2006), should be discounted because “the plaintiff there voluntarily consented to

dismissal.” (Opp. at 35.) But Plaintiff ignores that the plaintiff-trustee in Walker consented to

dismissal only after (i) the defendants had explained in their motion to dismiss that neither the

statute nor any Delaware court had ever recognized a cause of action for aiding and abetting an

illegal dividend, and (ii) the trustee had conceded at deposition that (a) “I don’t think that the

aiding and abetting [an] [il]legal dividend has been recognized as a cause of action anywhere that

I know of,” and (b) “[w]e never found any cases alleging that cause of action.” (Mot. at 24–25.)

In other words, the Walker plaintiff consented to dismissal of its aiding and abetting claim only

because it conceded that no such cause of action exists.

         Credit Suisse also demonstrated in its Motion that, even if a cause of action for aiding

and abetting did exist (and it does not), the Complaint does not plead the required facts showing

that Credit Suisse “knowingly and substantially participated” in the alleged underlying violation.

(Mot. at 25–27.) Specifically, the Complaint pleads no facts showing that Credit Suisse (i) knew

that QHC lacked sufficient surplus to pay the CHS Distribution in compliance with DGCL § 170,

or (ii) substantially participated in the payment of that distribution. (Id. at 25–26.) Instead of

engaging with Credit Suisse’s argument, the Opposition merely regurgitates the Complaint’s

conclusory allegations that Credit Suisse “knew that the projections had been manipulated,”

“turned a blind eye” to the supposed manipulation, helped “rais[e] the Spin-Off Debt based on

those fraudulent projections,” and “sought to erase any record of its participation in the

fraudulent scheme.” (Opp. at 35.) Under the logic of Credit Suisse’s cases (see Mot. at 27)—


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which Plaintiff does not distinguish or counter—those allegations would be insufficient to state a

claim for aiding and abetting even if that cause of action existed.

IV.      THE COMPLAINT FAILS TO STATE A CLAIM FOR UNJUST ENRICHMENT
         AGAINST CREDIT SUISSE.

         For the reasons discussed below, the Opposition does not rebut Credit Suisse’s showing

that the Complaint fails to state a claim for unjust enrichment. (See Mot. at 28–30.)

         First, Plaintiff does not dispute that the unjust enrichment claim relating to the fees QHC

allegedly paid to Credit Suisse for its work on the April 2016 transaction is untimely, but argues

only that the statute of limitations should be tolled because CHS and Credit Suisse supposedly

concealed the alleged fraud. (See Opp. at 32.) But as the CHS Defendants demonstrate in their

reply brief, tolling is inapplicable because QHC fully litigated these precise issues years ago in

its arbitration with CHS. (See CHS Defendants’ Reply at 15–16.)

         Second, Credit Suisse demonstrated that Plaintiff’s unjust enrichment claim should be

dismissed because the Complaint fails to plead the lack of a governing contract. (See Mot. at

28–29.) The Opposition does not dispute this, nor does Plaintiff even suggest that QHC would

have paid fees absent a contract. Instead, Plaintiff argues that it is “not aware” whether a

contract exists. (See Opp. at 32). This argument is confusing because Credit Suisse attached to

its Motion the April 29, 2016 Credit Agreement between QHC and Credit Suisse (and other

banks), which was filed with the SEC and which expressly provides that the “[Credit]

Agreement, the Engagement Letter, and the other Loan Documents constitute the entire contract

between the parties relative to the subject matter hereof.” See Moss Decl. Ex. F at 133.

         Plaintiff further argues that even if a contract did exist (and it does), dismissal would still

be unwarranted because “any such contract was entered into at CHS’s direction with the intent to

perpetrate a fraud.” (Opp. at 33.) But Plaintiff claims not even to know if a contract between

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QHC and Credit Suisse existed, and so it cannot possibly have alleged in the Complaint (nor did

it) that the contract was procured by fraud. Accordingly, Plaintiff’s cases, which involved

specific allegations that the contract was procured by fraud, are distinguishable. (See id. (citing

McPadden v. Sidhu, 964 A.2d 1262 (Del. Ch. 2008) (reciting complaint’s factual allegations and

explaining that “it is the contract, itself, that is the [alleged] unjust enrichment”) and LVI Grp.

Invs., LLC v. NCM Grp. Holdings, LLC, 2018 WL 1559936, at *1 (Del. Ch. Mar. 28, 2018)

(allegation that plaintiffs “would never have entered into the agreement but for Defendants’

falsification of financial statements”).)

         Finally, Plaintiff’s argument that Credit Suisse was unjustly enriched because it

supposedly participated in CHS’s alleged fraud (see Opp. at 34) again merely rehashes the

Complaint’s conclusory allegations and does not even attempt to rebut Credit Suisse’s showing

that those allegations do not adequately allege any sort of fraud by Credit Suisse. (See Mot. at 6,

27.) Nor does the Opposition mention, let alone try to distinguish or rebut, Credit Suisse’s cases

dismissing unjust enrichment claims under similar circumstances. (See id. at 29–30.)

                                            CONCLUSION

         For the reasons above and in Credit Suisse’s Motion, the Court should dismiss all the

claims against Credit Suisse (Counts 16–23) with prejudice.




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Dated: Wilmington, Delaware
       May 2, 2022

                                           RICHARDS LAYTON & FINGER, P.A.

                                           /s/ Robert C. Maddox_______________________
                                           Mark D. Collins (No. 2981)
                                           Robert C. Maddox (No. 5356)
                                           One Rodney Square, 920 North King Street
                                           Wilmington, Delaware 19801
                                           (302) 651-7700
                                           collins@rlf.com
                                           maddox@rlf.com


                                           CAHILL GORDON & REINDEL LLP

                                           /s/ Edward Moss___________________________
                                           Herbert S. Washer
                                           Edward Moss
                                           Joel H. Levitin
                                           John MacGregor
                                           32 Old Slip
                                           New York, New York 10005
                                           (212) 701-3000
                                           hwasher@cahill.com
                                           emoss@cahill.com
                                           jlevitin@cahill.com
                                           jmacgregor@cahill.com

                                           Attorneys for Defendant Credit Suisse Securities
                                           (USA) LLC




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